              Case 2:15-cr-00164-TLN Document 123 Filed 04/17/18 Page 1 of 2


 1   MICHAEL E. HINGLE, SBN 153369
     LAW OFFICE OF MICHAEL E. HINGLE
 2   PO Box 788
     SAN JOSE, CA 95106-0788
 3   Telephone: (408) 286-4998
     Facsimile: (408) 292-6138
 4   Email: michael@hingle-law.com
 5   Attorney for Defendant
     SECUNDINO ESQUIBEL
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-00164 TLN
11
                    Plaintiff,                        STIPULATION AND ORDER TO
12                                                    CONTINUE SENTENCING HEARING
            vs.
13                                                    Date: July 26, 2018
     SECUNDINO ESQUIBEL, et al.,                      Time: 9:30 a.m.
14                                                    Court: Hon. Troy L. Nunley
                    Defendants.
15
16          The parties to this action, Plaintiff United States of America by and through Assistant
17   U.S. Attorney Samuel Wong, and attorney Michael E Hingle on behalf of defendant Secundino
18   Esquibel, stipulate and submit this request to continue the dates presently set for judgment and
19   sentencing in the above – referenced matter from April 19, 2018, at 9:30 A.M to July 26, 2018 at
20   9:30 A.M. The defense needs additional time to draft and submit materials in support of its
21   sentencing requests as allowed under the express terms of the plea agreement.
22          The government does not oppose the request and the assigned probation officer is
23   available to appear on the requested dates. This date is the same date recently approved by the
24   Court as to co-defendant Moises Torres. It is therefore requested that the Court continued its
25   previously-set Sentencing in the above-referenced matter until July 26, 2018.
26          This Request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial
27   Act is not required. Assistant U.S. Attorney Samuel Wong has reviewed this stipulation and
28   proposed order and authorized Michael E. Hingle to sign it on his behalf.
                                                  1
     [Proposed] Order Continuing Sentencing Hearing and Modifying PSR Schedule.
     2:15-cr-00164 TLN
             Case 2:15-cr-00164-TLN Document 123 Filed 04/17/18 Page 2 of 2


 1
 2   Dated: April 16, 2018                                 McGREGOR W. SCOTT
 3                                                         By: /s/ Michael E. Hingle for
 4                                                         SAMUEL WONG
                                                           Assistant United States Attorney
 5
 6   Dated: April 16, 2018                                 /s/ Michael E. Hingle
 7                                                         Michael E. Hingle
                                                           Attorney for Defendant Secundino
 8                                                         Esquibel
 9
                                                ORDER
10
            The Judgment and Sentencing Hearing in this matter is continued to July 26, 2018, at
11
     9:30 AM.
12
13
            IT IS SO ORDERED
14
15
     Dated: April 17, 2018
16
                                                           The Honorable Troy L. Nunley
17                                                         United States District Judge
18
19
20
21
22
23
24
25
26
27
28
                                                  2
     [Proposed] Order Continuing Sentencing Hearing and Modifying PSR Schedule.
     2:15-cr-00164 TLN
